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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                             HAMMOND DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
      Plaintiff,                             )
                                             )
      v.                                     )   Cause No. 2:13-CR-54-PPS-JEM
                                             )
DEDRICK BUFKIN,                              )
                                             )
      Defendant.                             )

                                        ORDER

      This matter is before me on the findings and recommendation of Magistrate

Judge John E. Martin relating to defendant Dedrick Bufkin’s agreement to enter a plea

of guilty to Count 1 of the Indictment, pursuant to Rule 11 of the Federal Rules of

Criminal Procedure. [DE 246.] Following a hearing on the record on May 20, 2021 [DE

255], Judge Martin found that the defendant understands the charges, his rights, and

the maximum penalties; that the defendant is competent to plead guilty; that there is a

factual basis for the defendant’s plea; that the defendant knowingly and voluntarily

entered into his agreement to enter a plea of guilty; and that the defendant’s change of

plea hearing could not be delayed without serious harm to the interests of justice.

Judge Martin recommends that the Court accept defendant’s plea of guilty and proceed

to impose sentence. Neither party has filed a timely objection to Judge Martin’s

findings and recommendation.

      ACCORDINGLY:
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        Having reviewed the Magistrate Judge’s findings and recommendation

concerning Defendant Dedrick Bufkin’s plea of guilty, to which no objection has been

filed, the Court hereby ADOPTS the findings and recommendation [DE 255] in their

entirety.

        Defendant Dedrick Bufkin is adjudged GUILTY of Count 1 of the Indictment.

        The sentencing hearing is set for October 5, 2021 at 1:30 p.m. Hammond/Central

time.

        SO ORDERED.

        ENTERED: June 7, 2021.

                                               /s/ Philip P. Simon
                                               PHILIP P. SIMON, JUDGE
                                               UNITED STATES DISTRICT COURT
